EXHIBIT 9

[REDACTED]
  From: Scott Klein Klein@mintzandgold.com
Subject: RE: Deposition of AW
   Date: April 9, 2024 at 11:52 AM
     To: Melissa J. Hogan melissajhogan@qavahlaw.com
    Cc: Basyle Tchividjian boz@bozlawpa.com, Alex Otchy otchy@mintzandgold.com


     Melissa,
     The entirety of Julie Myers Woods’ deposition transcript was initially designated as confidential/AEO
     following the deposition as per the Confidentiality Order in place. Thereafter, upon receipt and
     review of the transcript, we sent to counsel a redacted version containing the specific AEO
     designations, which included redacting any mention of your client’s name.


                      Scott Klein
                      600 Third Avenue, 25th Fl., New York, NY 10016
                      D 646.792.0333 | O 212.696.4848 | C 917.886.2204




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     transmission is strictly prohibited.

     Please consider the environment before printing this email.

     From: Melissa J. Hogan <melissajhogan@qavahlaw.com>
     Sent: Tuesday, April 9, 2024 12:20 PM
     To: Scott Klein <Klein@mintzandgold.com>
     Cc: Basyle Tchividjian <boz@bozlawpa.com>
     Subject: Re: Deposition of AW

     Scott,
     Thanks. I need to file today either way due to some gamesmanship by Rob so hearing from you first
     would be nice.

     Was Julie Woods’ deposition transcript under confidential or AEO designation or at least the portions
     that mention my client by name?

     Melissa


            On Apr 9, 2024, at 9:54 AM, Scott Klein <Klein@mintzandgold.com> wrote:


            Melissa,
            Not ignoring you. Could not connect with Steve last night because of his deposition
            going late.
            Speaking with client and with Steve hopefully later today.



             <image001.png>   Scott Klein
                              600 Third Avenue, 25th Fl., New York, NY 10016
                              D 646.792.0333 | O 212.696.4848 | C 917.886.2204
                              <image002.png>




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